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                                                                                20-1180-CBD
                                                                                      ____ FILED    ___ ENTERED
                 AFFIDAVIT OF JAMILE BOLES, TASK FORCE OFFICER, ____ LOGGED _____ RECEIVED
                UNITED STATES DRUG ENFORCEMENT ADMINISTRATION 12:03 pm, May 14 2020
                                                                                      AT BALTIMORE
       I, Jamile Boles, being duly sworn, do hereby depose and state:                 CLERK, U.S. DISTRICRT COURT
                                                                                      DISTRICT OF MARYLAND
                                                                                      BY ______________Deputy
Introduction:

        1.     Your affiant is an “investigative or law enforcement officer ... of the United
States” within the meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States
empowered by law to conduct investigations of and to make arrests for offenses enumerated in
18 U.S.C. § 2516. Your affiant has been a duly sworn member of the Baltimore City Sheriff’s
Office (“BCSO”) since January 2009, and is a Task Force Officer (“TFO”) with the United
States Drug Enforcement Administration (“DEA”).

      2.      Your affiant is currently assigned to the BCSO’s Special Operations Division
working as a TFO in the DEA.

        3.     Your affiant has directly and/or indirectly participated in the arrest of over 200
persons for violations of CDS Laws, which has resulted in the seizure of various amounts of
heroin, cocaine, marijuana and other illegal substances. Your affiant has been involved in the
preparation and/or execution of well over 100 search and seizure warrants, during which time
CDS, Firearms, and U.S. Currency have been recovered. Your affiant has received extensive
training in CDS investigations.

       4.       This affidavit is made in support of a complaint against Joseph Windsor Speed,
charging him with conspiracy to possess with intent to distribute controlled substances, including
fentanyl, in violation of 21 U.S.C. § 846, and possession with intent to distribute controlled
substances, including fentanyl, in violation of 21 U.S.C. § 841.

May 20, 2019 Seizure:

       5.       On April 23, 2019, the District Court of Maryland for Baltimore City issued a
warrant of restitution (i.e., an eviction warrant) for the premises of The Residences Apartments,
300 Saint Paul Place, Apartment 408, Baltimore, Maryland (“Apartment 408”), under case
number 0101-0005965-2019. The warrant of restitution was subsequently forwarded to
members of the Baltimore City Sheriff’s Office (“BCSO”) for service.

        6.     On May 20, 2019, at approximately 9:00 a.m., a deputy with the BCSO responded
to Apartment 408 to execute the aforementioned warrant. The deputy knocked and announced
her presence at Apartment 408, but received no answer. Subsequently, the deputy proceeded
with the execution of the eviction. As the deputy entered the apartment, she noticed, in plain
view, two large clear plastic bags containing what she believed, based on her training,
knowledge, and experience, to be controlled dangerous substances (suspected heroin or
fentanyl). Based on the deputy’s observations, members of the BCSO contacted members of
DEA and Apartment 408 was secured and held so investigators could lawfully obtain a search
warrant for the residence.



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        7.    On May 20, 2019, investigators presented a state search and seizure warrant based
on the aforementioned facts to Judge Dunn of the District Court of Maryland for Baltimore City.
After reviewing the application and affidavit, Judge Dunn authorized the search and seizure
warrant for Apartment 408.

         8.     Subsequently that same day, members of DEA and BCSO executed the search
and seizure warrant on the aforementioned apartment. During a lawful search, law enforcement
discovered: (1) over a kilogram of suspected heroin or fentanyl in the kitchen area of the
apartment; (2) one Glock semi-automatic handgun loaded with live rounds and miscellaneous
extra ammunition for semi-automatic handguns and rifles; (3) a small amount of U.S. Currency;
(4) one gallon-sized plastic bag containing numerous gel-caps containing suspected
heroin/fentanyl; (5) another gallon-sized bag containing a substantial amount of a white
substance believed to be heroin or fentanyl; (6) bottles of cutting agents used in the wholesale
and street sale of heroin/fentanyl; (7) gelatin capsules containing suspected heroin/fentanyl; (8)
sifters and various other narcotic processing paraphernalia; (9) mail addressed to Gerald Brown,
who was the listed lessee of the apartment;1 (10) a man’s wallet containing U.S. Currency and an
MVA Identification card in the name of Joseph Speed; and (11) other items of clothing and
belongings associated with Speed and Briah Sharpe, who your affiant knows was in a romantic
relationship with Speed.

        9.      Also found inside the apartment during the search warrant was a blue bandana.
Your affiant knows through training and experience that members of the Crips gang utilize the
color blue and blue bandanas to signify their gang membership. Further, your affiant identified
Speed’s Instagram Account as “jo_blow” and Sharpe’s Instagram Account as “briahbitch.” A
review of publicly-available portions of Sharpe’s Instagram account showed numerous pictures
of her with Speed. Additionally, your affiant observed photographs of Speed and Sharpe
together, where Speed is dressed in what appears to be a white and blue baseball cap with a blue
sweatshirt with white letters and Sharpe is dressed in a blue Yankees shirt with a blue Yankees
baseball hat. The Instagram caption has what appears to be a blue heart shape. Your affiant
knows through his training, knowledge, and experience that Crips members often use blue heart
shapes to symbolize love for one another and the gang on their social media pages. Your affiant
also knows through his training, knowledge, and experience that Crips members often wear the
color blue or black or New York Yankees memorabilia such as hats and shirts to represent their
respective gang set.

        10.     Law enforcement also obtained video surveillance footage that shows Speed and
Sharpe exiting the lobby of the apartment building on the morning of May 20, 2019, before the
eviction warrant was executed. Historical cell-site evidence for a phone associated with Speed
routinely pinged in the area of Apartment 408, including on the morning of May 20, 2019.
Specifically, between May 1, 2019 and May 20, 2019, a phone associated with Speed had over
130 activations over cell towers within close proximity to Apartment 408. These activations
occurred nearly every day during this period, indicating that Speed was at Apartment 408 nearly
every day over this 20-day period leading up to the eviction. Additionally, the historical cell-


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    Brown was shot and killed in June 2019.


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site data shows that, for at least 16 of those 20 days, the first and/or last activation on the phone
pinged on a tower in close proximity to Apartment 408, indicating that Speed was sleeping at
Apartment 408 on those days.

        11.     Law enforcement obtained a search warrant on an I-Cloud Account. In the
return, law enforcement saw numerous videos depicting Speed. In one such video, Speed is
seen firing a handgun at a shooting range. In that video, Speed is depicted wearing a distinctive
tan belt which appears to be the same belt that was observed when the search warrant was
executed on Apartment 408. Additionally, the video shows Speed firing a two-tone handgun,
which appears to be the same two-tone handgun that was recovered when the search warrant was
executed at Apartment 408.

       12. Lab analysis confirms that more than 400 grams of a mixture or substance
containing fentanyl was seized from inside the apartment.

July 23, 2019 Seizure:

        13.    On or about July 23, 2019, members of the Baltimore County Police Department
Narcotics Unit were working in a plainclothes capacity driving an unmarked police vehicle in the
area of Millbrook Drive and Evamay Road, Pikesville, MD. At that time, an officer observed a
blue four-door Honda Accord bearing Maryland registration 77104CH make a turn into the
parking complex of 6994 Millbrook Park Drive. An officer conducted a query through
Maryland Motor Vehicle Administration (“MVA”) records for the above-mentioned vehicle
registration. The query revealed the vehicle had active MVA flags for an insurance violation as
of March 14, 2019, suspended insurance as of May 24, 2019, and a suspended driver license and
numerous administrative late fees, including the most recent on June 18, 2019. In addition, the
warrant check was conducted on the registered owner of the vehicle, Joseph Windsor Speed.
The query revealed Speed had an outstanding active arrest warrant issued by Baltimore City
Police under case number 0SD59068.

        14.    Shortly thereafter, an officer observed the above-mentioned vehicle parked in
front of 6994 Millbrook Park Drive. Seconds later, officers observed a black male subject,
matching the description of Speed, exit the driver-side door of the vehicle along with a female
who was later identified as Briah Sharpe, who exited the front passenger side door of the vehicle.

         15.    Based on the information obtained from the MVA and Baltimore City PD,
detectives conducted a field interview on Speed. After a brief conversation, Speed identified
himself to the detectives as Dante Jones, which detectives determined to be false information to
hide his true identity. At that time, detectives immediately placed Speed under arrest. In a
search incident to the arrest, detectives seized U.S. currency, suspected marijuana, and suboxone
strips from the shorts pockets of Speed. At the same time, an officer detected a strong odor of
suspected marijuana emanating from inside Speed’s vehicle. As detectives began searching the
vehicle, Speed notified detectives that a handgun may be inside the vehicle. Subsequently,
Detective Blake located a black Glock 19, 9mm handgun, serial number ZFZ677, with extended
magazine under the driver seat of the vehicle. Inspection of the magazine revealed thirty (30)
live rounds of ammunition with one round in the chamber of the handgun. In addition, during a



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search of the vehicle, detectives seized three large clear plastic bags containing numerous gelatin
capsules with a white powdery substance (suspected heroin) and approximately $5,345 in U.S.
currency.

       16.    Lab analysis showed that the capsules contained a total approximate weight of 54
grams of a mixture or substance containing fentanyl and heroin.

Speed’s Instagram Account:

        17.     As detailed above, investigators determined that Speed’s Instagram account was
listed under the name “jo_blow.” On June 11, 2019, law enforcement obtained a federal search
warrant to seize evidence contained in Speed’s Instagram Account. The search revealed Speed
having numerous conversations related to drugs and guns.

      18.       For example, on March 4, 2019, over Speed’s Instagram, the following statement
was made:

                jo_blow:        Sis got in that van wit a Lil girl yday round the time it started
                                snowing. Big Bro wasn’t with her. I sat for 30 after dipped (at
                                16:56 UTC)

Your affiant knows that drug traffickers often refer to cocaine as “girl” and heroin as “boy” or
“brother.” Based on your affiant’s training and experience, your affiant believes that Speed was
having a coded conversation about trafficking cocaine.

       19.      Similarly, on March 27, 2019, over Speed’s Instagram, the following exchange
took place:

                2400blk__:      Wya Cuz (at 16:09 UTC)
                jo_blow:        By mondawmin.. I got 5gs of fit left that I ain’t touch yet
                                that you can yeaaa wit! (at 16:27 UTC)

Your affiant knows through training and experience that drug traffickers use the term “fit” to
refer to a fentanyl-based drug product. Based on your affiant’s training and experience, your
affiant believes that Speed was discussing how he had a quantity of fentanyl-based drugs to sell.

         20. Further, on June 9, 2019, over Speed’s Instagram, the following exchange took
place:

                Runituprelly:          U wanna buy pocket rocket (16:00 UTC)
                Jo_blow:               yea. FT me (1600)

Your affiant knows that a “pocket rocket” is often used as code for a firearm. Based on your
affiant’s training and experience, your affiant believes that Speed was indicating he wanted to
buy a firearm.




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Conclusion:

         21.     Based on the facts set forth above, your affiant believes there is probable cause
that Joseph Speed conspired to possess with the intent to distribute, and possessed with the intent
to distribute a detectable amount of fentanyl and heroin, schedule I controlled substances, in
violation of 21 U.S.C. §§ 846, 841.


                                      _________________________________________
                                      Jamile Boles, TFO, DEA


Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 4(d) this _________ day of May, 2020



                                      _________________________________________
                                      The Honorable Charles B. Day
                                      United States Magistrate Judge




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